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  UNITED STATES DISTRICT COURT
  WESTERN DISTRICT OF NEW YORK
  _____________________________________

  WILLIAM HOWELL,

                             Plaintiff,
                      -vs-                                16-CV-6117

  CORRECTIONAL MEDICAL CARE, INC., et al,

                      Defendants.
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                   Proceedings held before the

           Honorable Marian W. Payson, Kenneth B.

           Keating Courthouse, 100 State Street,

           Rochester, New York, on September 20,

           2017.


           APPEARANCES:

           MARIA DYSON, ESQ.,
           Appearing for Plaintiff.

           NANCY QUINN KOBA, ESQ.
           Appearing telephonically for
           Shahid Ali, N.P.

           JAMES H. COSGRIFF III, ESQ.,
           Appearing for remaining Defendants.


           AUDIO RECORDER:       Catherine A. Marr


           TRANSCRIBER:          Michelle L. McLaughlin, RPR,
                                 Court Reporter,
                                 716/332-3560


           (Proceedings recorded by electronic sound
           recording, transcript produced by computer.)
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 1                  THE COURT:     Good afternoon.        Please be

 2      seated.

 3                  THE CLERK:     William Howell versus

 4      Correctional Medical Care, 16-CV-6117.

 5                  THE COURT:     Okay.     Would counsel note

 6      their appearances for the record?             For plaintiff?

 7                  MS. DYSON:     Maria Dyson of the Law Offices

 8      of Elmer Robert Keach III, P.C., on behalf of the

 9      plaintiff William Howell.

10                  THE COURT:     All right.      Miss Dyson.

11           For defendants?

12                  MR. COSGRIFF:      James Cosgriff for the

13      medical defendants and the county defendants except

14      defendant Ali and Betsy Teller.

15                  THE COURT:     Okay.     Mr. Cosgriff.

16           And then we have on the phone for -- is it

17      Nurse Practitioner Ali, we have Miss Koba?

18                  MS. KOBA:     Yes, your Honor.

19                  THE COURT:     And that's Nancy Koba,

20      K-O-B-A?

21                  MS. KOBA:     Correct.

22                  THE COURT:     Okay.     All right.     Good

23      afternoon.

24                  MS. KOBA:     Good afternoon, your Honor.

25                  THE COURT:     So pending before the Court is
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 1      a motion brought by plaintiff for the imposition of

 2      sanctions as a result of noncompliance with

 3      discovery requests served, as well as I would say a

 4      prior motion -- excuse me, a prior order by this

 5      Court compelling the production of documents.

 6           Let me begin by asking Ms. Dyson whether there

 7      have been any changes factually since the

 8      submission of Mr. Cosgriff's opposition which was

 9      at the end of July.        What's happened with discovery

10      since then?      And if you'd like to stand to address

11      the Court, please come to the podium so that you

12      can talk into the microphone.

13                  MS. DYSON:     Yes, your Honor.

14                  THE COURT:     Okay.

15                  MS. DYSON:     Your Honor, since the -- since

16      we filed the motion for sanctions, we have received

17      responses from the defendants.            However we maintain

18      that these responses are woefully deficient.

19                  THE COURT:     Pull the microphone -- yeah.

20                  MS. DYSON:     Should I start over?

21                  THE COURT:     No.

22                  MS. DYSON:     Okay.     These responses were

23      woefully deficient as it relates to the document

24      demands.     We finally received a copy -- a full copy

25      of Mr. Howell's medical records.            But beyond the
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 1      medical records and in agreement between a nurse

 2      practitioner, we have not received any documents

 3      from the defendants.         They are -- responses to our

 4      document demands indicated that CMC or Correctional

 5      Medical Care did not have documents responsive to

 6      the request, but the County of Monroe might have

 7      it.    And that was the answer to almost all of our

 8      document requests.        And to date we have not

 9      received any supplemental responses or documents

10      responsive to this request.

11            And as it relates to our interrogatory demands

12      which were very specific, we asked questions like

13      who were the people responsible for making specific

14      decisions as it relates to the treatment that was

15      provided to the plaintiff, we received almost

16      identical responses to each interrogatory demand.

17      And those responses indicated that they were vague,

18      that they were --

19                  THE COURT:     Okay.     Are we talking about

20      the same interrogatory responses that existed at

21      the time the motion was fully briefed?

22                  MS. DYSON:     Yes, your Honor.

23                  THE COURT:     Okay.     So in that respect

24      there was no change.         That was my question, has

25      anything changed since the motion was fully
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 1      submitted.      You have the interrogatory responses

 2      which I've reviewed.         I understand the argument

 3      you're making with respect to the responses.                You

 4      haven't received any supplemental responses to the

 5      interrogatories?

 6                  MS. DYSON:     No, your Honor.

 7                  THE COURT:     Okay.     And -- all right.       So

 8      with respect to documents, you've gotten medical --

 9      the plaintiff's medical record?

10                  MS. DYSON:     Yes.

11                  THE COURT:     Okay.     And you've gotten --

12      when you say an agreement --

13                  MS. DYSON:     It's some type of contractual

14      agreement between -- I believe it's defendant Ali,

15      who is a nurse practitioner, and Correctional

16      Medical Care.

17                  THE COURT:     Okay.     Did you get that from

18      Ali or from CMC?

19                  MS. DYSON:     My understanding it was from

20      CMC.

21                  THE COURT:     Okay.     All right.     Have you

22      had any -- has your side had any conversations with

23      Mr. Cosgriff about any of the documents that have

24      been not been produced?

25                  MS. DYSON:     Other than the communications
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 1      that were attached for your Honor with the motion

 2      for sanctions, which included emails asking for the

 3      defendants to supplement their responses, there's

 4      been -- I don't believe that there's been any

 5      further communication.

 6                  THE COURT:     Okay.     Thank you.

 7           Mr. Cosgriff, why don't you come on up.

 8                  MR. COSGRIFF:      Good afternoon, your Honor.

 9                  THE COURT:     Good afternoon.

10                  MR. COSGRIFF:      Okay.

11                  THE COURT:     So, let's start with the

12      document demands.        Do you represent Monroe County

13      as well as CMC?

14                  MR. COSGRIFF:      I do, your Honor.

15                  THE COURT:     Okay.     So --

16                  MR. COSGRIFF:      And I am awaiting some

17      additional documents from Monroe County.               With

18      respect to the other responses that I did provide,

19      we do not have many of the things that were

20      requested.      Some of the documents that were

21      requested I did object to in my responses because

22      they went to personal tax returns for some of the

23      named defendants.        And in addition to that, they

24      went back a 12-year period.            So I did note my

25      objection in my responses to those.
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 1           But to date, your Honor -- and I apologize to

 2      counsel and to the Court to begin with for my

 3      tardiness in getting these things out.              But at this

 4      point we have responded to the best of our ability

 5      pending what I can get, if anything, from the

 6      county, as to whether or not they have any

 7      documentation.

 8                  THE COURT:     Okay.     And what is -- what

 9      argument do you have other than mea culpa for not

10      having produced the documents certainly in

11      compliance with a court order issued in response to

12      a prior motion to compel requiring you to produce

13      those documents which were belated at the time of

14      the prior motion to compel by July 7th?

15                  MR. COSGRIFF:      Well, other than waiting

16      for additional documentation from the county, we do

17      not have anything further to provide.

18                  THE COURT:     Well, you represent the

19      county.

20                  MR. COSGRIFF:      I do.

21                  THE COURT:     Okay.     So waiting for

22      documents from the county is not an adequate

23      response.      If you're waiting for documents from the

24      county, the county is your client.             They're your

25      documents.      They have to be produced.          They should
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 1      have been produced -- these document requests were

 2      served in July of 2016, over a year ago.               They were

 3      the subject of a motion to compel brought

 4      April 27th of 2017.        I issued a motion scheduling

 5      order.     There was no response by defendants in

 6      the -- noting the failure to oppose, I granted what

 7      was a previous motion to compel June 16th and

 8      ordered those documents to be produced by July 7th.

 9      So it seems like it is months, if not over a year

10      too late to say they're getting them.

11                  MR. COSGRIFF:      Well, I thought -- and

12      again it goes to me.         I thought the medical

13      defendants would have had policies and procedures

14      from the jail.       They do have an agreement with the

15      county to provide the medical services.              And I

16      assumed that policy and procedures for that would

17      have been part of the agreement and part of the

18      file that the medical defendants would have had.

19                  THE COURT:     All right.      So you're saying

20      that you thought -- if I'm understanding you

21      correctly, you thought it was going to be easier

22      than it was to get those documents because you

23      thought they would be within the custody, control

24      of CMC and easier to produce than it, in fact, has

25      turned out to be?
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 1                  MR. COSGRIFF:      That -- that's what I

 2      thought it was going to be, your Honor.

 3                  THE COURT:     Okay.

 4                  MS. DYSON:     Your Honor, if I my be heard

 5      on one point?

 6                  THE COURT:     I'm not -- I'm not done

 7      thinking about what Mr. Cosgriff has said.

 8           All right.      So, yeah, I think the -- the issue

 9      that I'd like to know from you, Miss Dyson, and if

10      there's anything else you want to say, you can do

11      that as to this issue of documents, what's the

12      relevance of tax returns for individual defendants?

13      That seems a bit unusual.

14                  MS. DYSON:     Your Honor, I would -- this

15      issue has been addressed by other courts in which

16      we have litigation against Correctional Medical

17      Care.    And the way that those courts have resolved

18      our requests for financial information is they have

19      not allowed us to get tax returns, but they have

20      allowed us to get certain type of financial

21      documents that help us prove our Monell claim.                   So

22      to --

23                  THE COURT:     In what respect do those

24      documents help you prove a Monell claim?

25                  MS. DYSON:     One of the documents we've
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 1       been able to obtain are annual profit statements,

 2       and we're able to compare those to the requests for

 3       proposals that are submitted to the county by CMC.

 4       And what we're able to show is CMC's representation

 5       to various counties in which they have contracts

 6       about the profit margin that they're going to have

 7       is incorrect.      Oftentimes it will be five to ten

 8       times higher, and the way we've --

 9                  THE COURT:      Okay.    But that has nothing to

10       do with individual defendants, right?             That has to

11       do with CMC the entity, right?

12                  MS. DYSON:      Yes, your Honor.

13                  THE COURT:      Okay.    So just stay with me

14       with respect to -- Mr. Cosgriff is telling me that

15       the documents that you were requesting -- and I

16       know I have a copy of the request for production of

17       documents include individual -- tax returns for the

18       individual defendants, is that what you're saying?

19                  MR. COSGRIFF:       That's correct, your Honor.

20                  THE COURT:      Okay.    And show me -- tell me

21       what request that is.

22                  MR. COSGRIFF:       On the document demand

23       specifically document 18, documents reflecting

24       salary and profits paid to the personal defendants

25       Umar and Carpio.       And I believe there is some other
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 1       documentation in here.         Number 17 talks about the

 2       corporate tax returns.

 3                  THE COURT:      Okay.    I'm not requiring that

 4       any tax returns for any of the individual

 5       defendants be produced to the extent that any of

 6       these requests could be read to include those.                And

 7       I don't know that we need to go through them and go

 8       through that exercise.         It doesn't seem to be

 9       something that plaintiff is pressing, but, in any

10       event, I don't think in a case like this I would

11       find really under any argument that I can think of

12       that there would be a justification for turning

13       over individual tax returns.           So you don't need to

14       read them to include that.

15            With respect to CMC, Miss Dyson, are you

16       agreeable to talking with Mr. Cosgriff about the

17       case law that you're referencing and conferring

18       with him as to the particular financial information

19       as to CMC that you're looking for and that you

20       believe has been upheld by other cases?

21                  MS. DYSON:      Yes, your Honor.

22                  THE COURT:      Okay.    So I'm going to direct

23       that you have that conferral, okay?

24                  MR. COSGRIFF:       Very well.

25                  THE COURT:      Now with respect to the
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 1       remainder of the -- is there something else you

 2       wanted to say?      Or is that the issue you wanted to

 3       raise?

 4                  MS. DYSON:      There was one issue that was

 5       raised by Mr. Cosgriff that -- and I have no doubt

 6       that this is what's been reported to him by his

 7       clients.     But I know from other litigation with or

 8       against CMC that there are a range of documents

 9       that are maintained by Correctional Medical Care,

10       including documents relating to the Attorney

11       General investigation and the audits that have been

12       conducted at the direction by the Attorney General.

13       And also there's various investigations that are

14       triggered when there's a lawsuit filed, and

15       including medical audit committees that meet,

16       quality care, audit committees that meet, and these

17       are documents that we have been able to obtain in

18       other litigation and we believe exist here.               And I

19       believe that Mr. Cosgriff should talk to his client

20       and find out whether or not Correctional Medical

21       Care has these documents, because it has existed in

22       all of our other cases against CMC.

23                  THE COURT:      Well, that certainly seems to

24       be a fair observation.         This is what I'm going to

25       do with respect to the document request.              They have
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 1       been subject to a prior motion to compel.              And they

 2       should not be subject to another motion for

 3       sanctions, let alone the first motion to compel.                  I

 4       appreciate Mr. Cosgriff's affidavit indicates that

 5       he's not been subject to a motion for sanctions in

 6       his professional life.         But this seems to me, two

 7       essentially in the span of a couple of months is --

 8       is certainly not -- not a trend that anybody wants

 9       to -- wants to continue.

10            The record certainly justifies a finding that

11       defendants' objections to production of documents

12       have been waived, I would say with the exception of

13       the individual tax returns.          I think they are of

14       such heightened sensitivity, and there's nothing

15       here that indicates that those individual

16       defendants have themselves been responsible for any

17       delay in turning over the documents.             So I don't

18       think they should be penalized by

19       over-interpreting, number one, the document request

20       to request them, and then, number two, to find that

21       they've been waived.        I think they are sensitive

22       enough, their relevance is very attenuated.               So I'm

23       not going to require those.

24            I am going to give the defendants one more

25       month to produce documents.          If the documents are
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 1       not produced by that deadline, they -- that

 2       noncompliance, dereliction of duty, will likely

 3       give rise to more serious sanctions.             And I'm not

 4       done with the sanctions here.           But my main focus is

 5       in getting those documents produced.

 6            The allegations in this case are serious

 7       allegations.      That is not any opinion as to the

 8       ultimate merits of the case, but I have -- I read

 9       the complaint, and the allegations are certainly

10       serious allegations, and the plaintiff is on firm

11       footing to ask for the Court's assistance in

12       ensuring that discovery moves along in the manner

13       it should move along.

14            So, the documents need to be produced.              They

15       need to be produced whether they are in the

16       custody, control of CMC or the County of Monroe.

17            Mr. Cosgriff, you represent both of them.               You

18       know, that said, it behooves both of you, if there

19       is a reasonable question as to what the plaintiff

20       is looking for here as to particular documents, to

21       talk, you know, both to talk about -- Mr. Cosgriff,

22       what you may be hearing from your client about

23       there -- the fact that they don't have certain

24       documents that Miss Dyson believes based on her

25       experience in other litigation doesn't seem quite
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 1       right, you should talk about that.            Because

 2       ultimately having that dialogue I hope will

 3       facilitate finding the documents more quickly and

 4       getting them produced.

 5              I don't think it is in anybody's interest,

 6       including the plaintiff, to be given truckloads of

 7       documents that arguably fall within the broadest

 8       reading of any particular document request.               I

 9       think to the extent that there's a question about

10       what is sought here, you should confer, have a

11       dialogue about, you know, what particular document

12       you're looking for, so you're not coming back to me

13       with a dispute because Mr. Cosgriff either didn't

14       give you something that you thought should have

15       been turned over, or he gave you too much and it's

16       too difficult for you to find what you're looking

17       for.     So, I still think that there is value to be

18       served by a conferral, although I recognize as a

19       legal matter that objections have, as a legal

20       matter, been waived.        But it is still in everyone's

21       interest to move this case forward as efficiently

22       as possible.      By identifying the documents that

23       you're looking for, it's going to be easier to find

24       them, it's going to be easier to turn them over,

25       and it's going to be easier for you to work with
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 1       them in a way that's helpful to the case.

 2            So you should have that conferral.             I think you

 3       ought to have that conferral -- today is Wednesday.

 4       You should have that conferral by no later than

 5       next Tuesday, because I think that is going to help

 6       Mr. Cosgriff.

 7            Mr. Cosgriff, I'm giving you 30 days from

 8       today.    Today is the 20th, right?          So I'm going to

 9       say October 20th -- Friday, October 20th, is the

10       date set by this Court order for production of

11       those documents that still need to be produced.

12       Failure to comply with that order will result --

13       very likely to result in more serious sanctions.

14                  MS. DYSON:      Your Honor, if I may have a

15       small indulgence from the Court?            I'm finally

16       taking a vacation in a very long time over the next

17       couple days.      I get back on Monday.         If I could

18       have until Wednesday to put together -- I'd like to

19       put together a packet of sample documents that

20       we've received in other litigation to help Mr.

21       Cosgriff identify what we're looking for, as well

22       as a list of what I'm looking for.

23                  THE COURT:      Sure.    Why don't we do this.

24       You'll confer by no later than Friday of next week.

25       That gives you time to put together a packet of
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 1       documents.     It gives Mr. Cosgriff some time to look

 2       at it.     You'll confer by the 29th.         And I'm going

 3       to set October 27th instead of the 20th as the date

 4       for document production.

 5            All right.     Let's talk about interrogatories.

 6       I've reviewed the interrogatory responses and --

 7       well, the first question I want to ask is when were

 8       the interrogatories served?          I have a copy of the

 9       defendants' answers.        I don't have a copy of the

10       original interrogatories to know when they were

11       served.

12                   MS. DYSON:     I have the original

13       interrogatories, and the date that I completed

14       them.     Usually the way it happens in our office is

15       we serve it electronically on the date that we sign

16       it and then send it out by regular mail.              I just

17       don't have the date that they were actually served

18       on the defendant.        But the date on these

19       interrogatories are July 15th, 2016.

20                   THE COURT:     Okay.    So we're talking about

21       something that's about the same date as the

22       document request.

23                   MS. DYSON:     Yes, your Honor.

24                   THE COURT:     Okay.    So, I've looked at the

25       interrogatory requests and I've looked at the
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 1       interrogatory responses.         I don't intend to go

 2       through every interrogatory that has been asked,

 3       although I think generally the interrogatories seem

 4       to be appropriate interrogatories.            A number of the

 5       manner of the objections I noted, in my view, are

 6       really not appropriate objections to an

 7       interrogatory, such as the information is better

 8       obtained at a deposition.          I mean, certainly that's

 9       something that -- that the parties can discuss at

10       an informal conferral.         There could be, I guess, a

11       motion for a protective order filed by somebody

12       responding setting forth why responding to an

13       interrogatory would be unduly burdensome.

14            I would say, you know, oftentimes getting

15       information through an interrogatory is actually

16       helpful before a deposition rather than the other

17       way around.      So that -- that response is not --

18       certainly not a legal basis to resist responding to

19       an interrogatory.       There isn't any law that now

20       prohibits contention interrogatories, even if I

21       were to agree that some of these interrogatories

22       are, in fact, contention interrogatories, and I'm

23       not sure I agree with that, but there's no legal

24       bar on contention interrogatories.

25            But again, beyond that, the objections have
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 1       been waived.      They are untimely.        They were

 2       responded to in June of 2017.           So, I mean, unless

 3       there's something I'm missing about the timing, it

 4       seems as if we're dealing with something that --

 5       that at best fell through the cracks for a long

 6       period of time.       So, the interrogatories need to be

 7       responded to, you know, and as best you are able

 8       and the rules require that they be responded to

 9       after a diligent inquiry to put the party in a

10       position of responding to the interrogatories.                So

11       you can't simply say, you know, I don't know, or so

12       and so doesn't know the answer to that if there is

13       information that's reasonably accessible to that

14       individual, which would -- or party which would

15       enable them to answer the interrogatories.

16            Again, looking through these interrogatories,

17       they don't seem like they are out of line, and I

18       think they need to be responded to.             So, we'll set

19       the same date for responses to interrogatories,

20       October 27th.

21            You know, I want -- I want to be clear if --

22       that I am requiring the parties to confer about

23       these document requests and the interrogatories in

24       an effort to just to try to make things as easy for

25       the parties to get the discovery completed.
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 1            So, Miss Dyson, if there's something -- if you

 2       can have a conversation with Mr. Cosgriff which you

 3       can say as to this interrogatory, you know, this is

 4       really what we're looking for, or, Mr. Cosgriff, if

 5       you have a question about what they're looking for,

 6       have that conversation, because I think that might

 7       put you in a position of being better able to

 8       answer the interrogatory, provide the information

 9       that is being requested, and avoid future disputes

10       as to whether the response is adequate or not.                But

11       you can't simply say, unless there is agreement by

12       plaintiff's counsel, we're going to address this at

13       a deposition.      You've waived your right to make

14       that argument.       So I think you're going to have to

15       answer the interrogatories consistent with your

16       obligation to make a --

17                  MR. COSGRIFF:       Understood.

18                  THE COURT:      -- diligent inquiry.        And I am

19       imposing a financial sanction that is the --

20       requiring the defendants to reimburse plaintiff's

21       counsel for the costs of this motion.             This motion

22       should not have needed to have been made.              And I'm

23       not -- I'm not doing anything more than that.                So,

24       let's -- other judges might have taken a more, I

25       think, hardline approach to this, and perhaps would
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 1       have imposed other sanctions.           But there's broad

 2       discretion in this area.

 3            Mr. Cosgriff, I have no reason to question your

 4       representation that this is very unusual for you.

 5       You've been practicing a long time.             And my main

 6       interest is let's get that information provided.

 7       Let's move the case along.          It is serious

 8       allegations.      To the extent that you're not getting

 9       the attention that you need from the folks at

10       Monroe County, you just need to let them know that

11       there are going to be consequences if the documents

12       are not produced or the interrogatory responses not

13       made in a timely manner that are likely to have an

14       effect on their ability to defend against this

15       litigation in some -- in some fashion, either some

16       instruction that is given to the jury or, you know,

17       the striking of an answer, I don't want to get

18       there.    I'm sure your clients don't either.

19            So, with respect to those attorney's fees and

20       costs, it's not uncommon that I impose that

21       sanction on a record like this.           And these issues

22       do come up from time to time.           Rather than my

23       inviting litigation on it, or, you know,

24       determining a fee now, what I have found usually

25       works is to say I want you all to confer on that.
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                                                                      22

 1            And, Miss Dyson, I want you to -- to let

 2       Mr. Cosgriff know what your fees and costs are

 3       associated with the motion.          And I'm talking about

 4       this motion.      I'm not talking about the last

 5       motion.     Sometimes people find a way of throwing a

 6       lot of other things that happen because they happen

 7       during the same chronological period.             I'm talking

 8       about the fees and costs associated with drafting

 9       this motion and appearing today for the motion.

10       You all should talk about what a -- you know,

11       calculate that.       If there's some basis then to have

12       further discussions about that figure, you can do

13       that.     And if you have not been able to reach an

14       agreement, and I hope that you are, then I would

15       say by that same date, October 27th, Miss Dyson,

16       you can submit to me an affidavit with whatever

17       billing records you need to submit to establish

18       your fees and costs, and I will determine the

19       amount if you can't reach an agreement.              But I find

20       usually people are able to work that out without

21       the Court having to get involved with that.               Okay?

22                   MS. DYSON:     Yes, your Honor.

23                   THE COURT:     Okay.

24                   MR. COSGRIFF:      Thank you, your Honor.

25                   THE COURT:     Mr. Cosgriff, anything else?
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                                                                      23

 1                  MR. COSGRIFF:       Nothing further.

 2                  THE COURT:      Okay.       Thank you very much.

 3                  MS. DYSON:      Thank you, your Honor.

 4                  *       *       *       *        *     *

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 1                               CERTIFICATION

 2

 3                  I certify that the foregoing is a

 4               correct transcription, to the best of my

 5               ability, from the electronic sound recording

 6               of the proceedings in this matter.

 7

 8

 9                                   s/Michelle L. McLaughlin
                                     Michelle L. McLaughlin, RPR
10                                        Court Reporter

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